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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                  Plaintiff,          )                 4:03CR3034
                                      )
            v.                        )
                                      )
JASON CHARLES YAEGER,                 )                 JUDGMENT
                                      )
                  Defendant.          )


       IT IS ORDERED that judgment is entered against the defendant providing
that his 2255 motion (filing 100) is denied.

      March 28, 2008.                      BY THE COURT:

                                           s/Richard G. Kopf
                                           United States District Judge
